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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                       CASE NO. 3:17-cv-00072
                                      Plaintiffs,

                          v.                           ORDER

     JASON KESSLER, et al.,
                                                       JUDGE NORMAN K. MOON
                                      Defendants.



          This case has been set for Status Conferences on October 8, 2021 at 9:00 and 10:00

   A.M. ET, before United States District Judge Norman K. Moon.

          It is REQUESTED that the United States Marshals Service have Christopher Cantwell

   available for a PHONE CALL (or videoconference) at that date and times so that he may

   participate in his case. The dial in information will be separately sent by the Clerk’s Office

   forthwith.

          It is so ORDERED.

          The Clerk of the Court is directed to send a certified copy of this Order to the parties, to

   Mr. Cantwell, and to the United States Marshals Service.

          Entered this 7th     day of October, 2021.
